 USCA11 Case: 22-11133            Document: 3-1     Date Filed: 04/11/2022       Page: 1 of 44


                    No. 22-11133 (Related with Nos. 22-11143, 44, 45) *

                       UNITED STATES COURT OF APPEALS
                         FOR THE ELEVENTH CIRCUIT


                   LEAGUE OF WOMEN VOTERS OF FLORIDA, INC., et al.
                                          Plaintiffs-Appellees,
                                               v.
     LAUREL M. LEE, in her official capacity as Secretary of State of Florida, et al.
                                               Defendants-Appellants,
                  NATIONAL REPUBLICAN SENATORIAL COMMITTEE and
                        REPUBLICAN NATIONAL COMMITTEE,
                                          Intervenor-Defendants–Appellants.


                    On Appeal from the United States District Court
           for the Northern District of Florida, Nos. 4:21-cv-186 (Walker, C.J.)


                           TIME-SENSITIVE MOTION FOR
                              STAY PENDING APPEAL

 Mohammad O. Jazil                                  Tyler R. Green
 HOLTZMAN VOGEL BARAN                               CONSOVOY MCCARTHY PLLC
 TORCHINSKY & JOSEFIAK PLLC                         1600 Wilson Boulevard, Suite 700
 119 South Monroe Street, Suite 500                 Arlington, VA 22209
 Tallahassee, FL 32301                              (703) 243-9423
 (850) 274-1690
                                                    Lead Counsel for RNC & NRSC
 Lead Counsel for Secretary Lee
                                                    Henry C. Whitaker
 Andy Bardos                                        FLORIDA ATTORNEY
 GRAYROBINSON, P.A.                                 GENERAL OFFICE
 301 South Bronough Street, Ste. 600                PL-01 The Capitol
 Tallahassee, FL 32301                              Tallahassee, FL 3300
 (850) 577-9090                                     (850) 414-3300
 Lead Counsel for Supervisors Hays and Doyle        Lead Counsel for Attorney General Moody

       *
           Appellants filed notices of appeal in four district court cases that were consolidated
for trial, so there are four appellate court dockets—22-11133, 22-11143, 22-11144, 22-1145.
Only one of these dockets—22-111333—is currently open. This motion applies to all four.
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                           League of Women Voters Inc. v. Lee
             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT
      Per Rule 26.1 and Circuit Rule 26.1, Appellants certify that the following have an

interest in the outcome of this appeal:

1.    Adkins, Janet, Defendant
2.    Adubu, Nancy, Attorney for Plaintiffs-Appellees
3.    Advancement Project National Office, Attorneys for Plaintiffs-Appellees
4.    Aguilera, Cecilia, Attorney for Plaintiffs-Appellees
5.    Alachua County Attorney’s Office, Attorneys for Defendant
6.    Andersen, Mark, Defendant
7.    Anderson, Christopher, Defendant
8.    Anderson, Shirley, Defendant
9.    Anstaett, David, Attorney for Plaintiffs-Appellees
10.   Arnold & Porter, LLP, Attorneys for Plaintiffs-Appellees
11.   Arnold, Melissa, Defendant
12.   Arrington, Mary, Defendant
13.   Bailey, Leslie, Attorney for Plaintiffs-Appellees
14.   Baird, Maureen, Defendant
15.   Baker McKenzie, LLP, Attorney for Plaintiffs-Appellees
16.   Bardos, Andy, Attorney for Defendants
17.   Barton, Kim, Defendant
18.   Beasley, Bobby, Defendant
19.   Begakis, Steven, Attorney for Intervenor-Defendants-Appellants
20.   Bell, Daniel, Chief Deputy Solicitor General of Florida
21.   Bellamy, Emma, Attorney for Plaintiffs-Appellees
22.   Benda, Kyle, Attorney for Defendant
23.   Bennett, Michael, Defendant
24.   Bentley and Bruning PA, Attorney for Defendant
25.   Bentley, Morgan, Attorney for Defendant


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26.   Bernstein, Daniel, Attorney for Plaintiffs-Appellees
27.   Bishop, Marty, Defendant
28.   Black Voters Matter Fund LLC, Plaintiff-Appellee
29.   Bledsoe, William, Attorney for Defendant
30.   Branch, Aria, Attorney for Plaintiffs-Appellees
31.   Brewton Plante PA, Attorneys for Defendants
32.   Brigham, Robert, Plaintiff-Appellee
33.   Brodeen, Karen, Attorney for Defendants-Appellants
34.   Broward County Attorney's Office, Attorney for Defendant
35.   Brown, Summer, Attorney for Defendant
36.   Brown, Tomi, Defendant
37.   Budhu, Ryan, Attorney for Plaintiffs-Appellees
38.   Cannon, Starlet, Defendant
39.   Case, Andrew, Attorney for Plaintiffs-Appellees
40.   Cavataro, Benjamin, Attorney for Plaintiffs-Appellees
41.   Chambless, Chris, Defendant
42.   Chappell, William, Attorney for Defendant-Appellant
43.   Chason, Sharon, Defendant
44.   Choi, Ellen, Attorney for Plaintiffs-Appellees
45.   Chorba, William, Attorney for Defendant-Appellant
46.   City of Jacksonville, Office of General Counsel, Attorneys for Defendant
47.   Clark Partington, Attorneys for Defendant
48.   Common Cause, Plaintiff-Appellee
49.   Consovoy McCarthy PLLC, Attorneys for Intervenor-Defendants-Appellants
50.   Conyers, Grant, Defendant
51.   Corley, Brian, Defendant
52.   County of Volusia, Attorneys for Defendant
53.   Covington & Burling LLP, Attorneys for Plaintiffs-Appellees
54.   Cowles, Bill, Defendant
55.   Cuffe, Edward, Attorney for Defendant

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56.   Cycon, John, Attorney for Defendant-Appellant
57.   Daines, Kenneth, Attorney for Defendant-Appellant
58.   Dandeneau, Debra, Attorney for Plaintiffs-Appellees
59.   Darrow Everett LLP, Attorneys for Plaintiffs-Appellees
60.   Davis, Ashley, Attorney for Defendant-Appellant
61.   Davis, Vicki, Defendant
62.   De Paul, Romane, Attorney for Plaintiffs-Appellees
63.   Demos, Attorneys for Plaintiffs-Appellees
64.   Devaney, William, Attorney for Plaintiffs-Appellees
65.   Disability Rights Florida, Plaintiff-Appellee
66.   Doyle, Tommy, Defendant-Appellant
67.   Driggers, Heath, Defendant
68.   Duke, P. Benjamin, Attorney for Plaintiffs-Appellees
69.   Dukkipati, Uttara, Attorney for Plaintiffs-Appellees
70.   Dunaway, Carol, Defendant
71.   Earley, Mark, Defendant
72.   Edwards, Brendalyn, Attorney for Defendant
73.   Edwards, Jennifer, Defendant
74.   Edwards, Lori, Defendant
75.   Elias Law Group, Attorneys for Plaintiffs-Appellees
76.   Elias, Marc, Attorney for Plaintiffs-Appellees
77.   Ellis, Elizabeth, Attorney for Defendant
78.   Equal Ground Education Fund, Plaintiff-Appellee
79.   Erdelyi, Susan, Attorney for Defendants
80.   Escambia County Attorney's Office, Attorneys for Defendant
81.   Fair Elections Center, Attorneys for Plaintiffs-Appellees
82.   Faith in Florida, Plaintiff-Appellee
83.   Fajana, Francisca, Attorney for Plaintiffs-Appellees
84.   Farnam, Alteris, Defendant
85.   Faruqui, Bilal, Attorney for Defendants-Appellants

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86.    Feiser, Craig, Attorney for Defendant
87.    Ferenc, Samuel, Attorney for Plaintiffs-Appellees
88.    Fletcher, Michael, Attorney for Plaintiffs-Appellees
89.    Florida Alliance for Retired Americans Inc., Plaintiff-Appellee
90.    Florida Department of State, Attorneys for Defendant-Appellant
91.    Florida Office of the Attorney General, Attorneys for Defendants-Appellants
92.    Florida Rising Together, Plaintiff-Appellee
93.    Florida State Conference of the NAACP, Plaintiff-Appellee
94.    Ford, Christina, Attorney for Plaintiffs-Appellees
95.    Fouhey, Elizabeth, Attorney for Plaintiffs-Appellees
96.    Fox, David, Attorney for Plaintiffs-Appellees
97.    Fram, Daniel, Attorney for Plaintiffs-Appellees
98.    Freedman, John, Attorney for Plaintiffs-Appellees
99.    Frost, Elisabeth, Attorney for Plaintiffs-Appellees
100. Galbraith, Miles, Attorney for Plaintiffs-Appellees
101. Galindo, Emily, Attorney for Plaintiffs-Appellees
102. Gardner Bist Bowden et al, Attorneys for Defendants
103. Genberg, Jack, Attorney for Plaintiffs-Appellees
104. Giannini, Mary, Attorney for Defendant
105. Gibson, Benjamin, Attorney for Intervenor-Defendants-Appellants
106. Gibson, Francesca, Attorney for Plaintiffs-Appellees
107. Gordon, Phillip, Attorney for Defendant-Appellant
108. Gray Robinson PA, Attorneys for Defendant
109. Green, Tyler, Attorney for Intervenor-Defendants-Appellants
110. Griffin, Joyce, Defendant
111. Hanlon, John, Defendant
112. Harriett Tubman Freedom Fighters Corp., Plaintiff-Appellee
113. Hart, Travis, Defendant
114. Hays, Alan, Defendant-Appellant
115. Henderson Franklin Starnes etc., Attorneys for Defendants

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116. Hernando County Attorney’s Office, Attorneys for Defendant
117. Herron, Mark, Attorney for Defendant
118. Hillsborough County Office of the County Attorney, Attorneys for Defendant
119. Hirschel, Andrew, Attorney for Plaintiffs-Appellees
120. Hispanic Federation, Plaintiff-Appellee
121. Hogan, Mike, Defendant
122. Holt, Dallin, Attorney for Defendant-Appellant
123. Holtzman Vogel Baran, et al., Attorneys for Defendants-Appellants
124. Hoots, Brenda, Defendant
125. Houlihan, Ashley, Attorney for Defendant
126. Hutto, Laura, Defendant
127. Janousek, John, Attorney for Defendants
128. Jarone, Joseph, Attorney for Defendant
129. Jazil, Mohammad, Attorney for Defendant-Appellant
130. Johnson, Diana, Attorney for Defendant
131. Johnson, Kia, Attorney for Defendant
132. Jones, Tammy, Defendant
133. Jouben, Jon, Attorney for Defendant
134. Joyner, Nia, Attorney for Plaintiffs-Appellees
135. Kahn, Jared, Attorney for Defendant
136. Kanter Cohen, Michelle, Attorney for Plaintiffs-Appellees
137. Karpatkin, Jeremy, Attorney for Plaintiffs-Appellees
138. Keen, William, Defendant
139. Khan, Sabrina, Attorney for Plaintiffs-Appellees
140. Khazem, Jad, Attorney for Plaintiffs-Appellees
141. King Blackwell Zehnder, etc PA, Attorneys for Plaintiffs-Appellees
142. King, Nellie, Attorney for Plaintiffs-Appellees
143. Kinsey, Jennifer, Defendant
144. Kirk, Stephen, Plaintiff-Appellee
145. Klitsberg, Nathaniel, Attorney for Defendant

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146. Knight, Shirley, Defendant
147. Labasky, Ronald, Attorney for Defendants
148. Latimer, Craig, Defendant
149. Latino Justice PRLDEF, Attorneys for Plaintiffs-Appellees
150. Lavia, John, Attorney for Defendants
151. Law Offices of Nellie King PA, Attorneys for Plaintiffs-Appellees
152. League of Women Voters of Florida Education Fund Inc., Plaintiff-Appellee
153. League of Women Voters of Florida, Plaintiff-Appellee
154. Lee, Laurel, Defendant-Appellant
155. Lenhart, Kaiti, Defendant
156. Lewis, Lisa, Defendant
157. Link, Wendy, Defendant
158. Lopez, Janine, Attorney for Plaintiffs-Appellees
159. Lux, Paul, Defendant
160. Madduri, Lalitha, Attorney for Plaintiffs-Appellees
161. Madison, Alan, Plaintiff-Appellee
162. Marcus, Julie, Defendant
163. Mari, Frank, Attorney for Defendants
164. Marks Gray PA, Attorneys for Defendant
165. McVay, Bradley, Attorney for Defendant-Appellant
166. Meadows, Therisa, Defendant
167. Meros, George, Attorney for Intervenor-Defendants-Appellants
168. Messer Caparello & Self PA, Attorneys for Defendant
169. Miami-Dade County Attorney’s Office, Attorneys for Defendant
170. Miller, Jeffrey, Attorney for Plaintiff-Appellees
171. Milton, Chris, Defendant
172. Mood, Kirsten, Attorney for Defendant
173. Moody, Ashley, Defendant-Appellant
174. Moore, James, Attorney for Defendants
175. Morgan, Joseph, Defendant

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176. Morris, John, Attorney for Plaintiffs-Appellees
177. NAACP Legal Defense & Education Fund, Inc., Attorneys for Plaintiffs-Appellees
178. Nabors Giblin, & Nickerson PA, Attorneys for Defendant
179. Nasseri, Cyrus, Attorney for Plaintiffs-Appellees
180. National Center for Law and Economic Justice, Attorneys for Plaintiffs-Appellees
181. National Republican Senatorial Committee, Intervenor-Defendant-Appellant
182. Negley, Mark, Defendant
183. Nordby, Daniel, Attorney for Intervenor-Defendants-Appellants
184. Norris, Cameron, Attorney for Intervenor-Defendants-Appellants
185. Nunnally, Amber, Attorney for Intervenor-Defendants-Appellants
186. Oakes, Vicky, Defendant
187. O'Brien, Colleen, Attorney for Defendant-Appellant
188. O'Bryant, Patrick, Attorney for Defendant
189. O‘Callaghan, Brendan, Attorney for Plaintiffs-Appellees
190. Ogg, Penny, Defendant
191. Olivo, Geraldo, Attorney for Defendants
192. Osborne, Deborah, Defendant
193. Ott, London, Attorney for Defendant
194. Overturf, Charles, Defendant
195. Palm Beach County Supervisor of Elections, Attorneys for Defendant
196. Paralyzed Veterans of America Central Florida Chapter, Plaintiff-Appellee
197. Paralyzed Veterans of America Florida Chapter, Plaintiff-Appellee
198. Perkins Coie LLP, Attorneys for Plaintiffs-Appellees
199. Perko, Gary, Attorney for Defendant-Appellant
200. Pernick, Michael, Attorney for Plaintiffs-Appellees
201. Pinellas County Attorney’s Office, Attorneys for Defendant
202. Poder Latinx, Plaintiff-Appellee
203. Poliak, Shira, Attorney for Plaintiffs-Appellees
204. Price, Tara, Attorney for Intervenor-Defendant-Appellants
205. Reed, Mahogane, Attorney for Plaintiffs-Appellees

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206. Republican National Committee, Intervenor-Defendant-Appellant
207. Riley, Heathers, Defendant
208. Rogers, Susan, Plaintiff-Appellee
209. Romero-Craft, Kira, Attorney for Plaintiffs-Appellees
210. Roper PA, Attorneys for Defendants
211. Rosenthal, Oren, Attorney for Defendant
212. Rudd, Carol, Defendant
213. Salzillo, Benjamin, Attorney for Defendant
214. Sanchez, Connie, Defendant
215. Saunders, Morgan, Attorney for Plaintiffs-Appellees
216. Scoon, Cecile, Plaintiff-Appellee
217. Scott, Dale, Attorney for Defendant
218. Scott, Joe, Defendant,
219. Scott, Lori, Defendant
220. Scott, Sharion, Attorney for Plaintiffs-Appellees
221. Segarra, Esperanza, Attorney for Plaintiffs-Appellees
222. Seyfang, Amanda, Defendant
223. Shannin Law Firm PA, Attorneys for Defendants
224. Shannin, Nicholas, Attorney for Defendant
225. Shapiro, Daniel, Attorney for Intervenor-Defendants-Appellants
226. Shaud, Matthew, Attorney for Defendant
227. Shearman, Robert, Attorney for Defendants
228. Sherman, Jonathan, Attorney for Plaintiffs-Appellees
229. Short, Caren, Attorney for Plaintiffs-Appellees
230. Shutts & Bowen LLP, Attorneys for Intervenor-Defendants-Appellants
231. Siegel, Rachel, Attorney for Defendant-Appellant
232. Sivalingam, Danielle, Attorney for Plaintiffs-Appellees
233. Smith, Diane, Defendant
234. Southerland, Dana, Defendant
235. Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees

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236. Stafford, David, Defendant
237. Stafford, William, Attorney for Defendants-Appellants
238. Stamoulis, Paula, Defendant
239. Stewart, Gregory, Attorney for Defendant
240. Stiefel, Aaron, Attorney for Plaintiffs-Appellees
241. Swain, Robert, Attorney for Defendant
242. Swan, Leslie, Defendant
243. Tarpley, Carlton, Attorney for Plaintiffs-Appellees
244. Theodore, Elisabeth, Attorney for Plaintiffs-Appellees
245. Todd, Stephen, Attorney for Defendant
246. Trigg, Amia, Attorney for Plaintiffs-Appellees
247. Tuetken, Adam, Attorney for Amicus
248. Turner, Ron, Defendant
249. UnidosUS, Plaintiff-Appellee
250. Valdes, Michael, Attorney for Defendant
251. Vicari, Kelly, Attorney for Defendant
252. Villane, Tappie, Defendant
253. Volusia County Attorney, Attorneys for Defendant
254. Walker, Gertrude, Defendant
255. Walker, Mark, District Court Judge
256. Washington, D.C., Office of the Attorney General, Attorneys for Amicus
257. Wermuth, Frederick, Attorney for Plaintiffs-Appellees
258. Whitaker, Henry C., Solicitor General of Florida
259. White, Christina, Defendant
260. Wilcox, Wesley, Defendant
261. Williamson, Virginia, Attorney for Plaintiffs-Appellees
262. Wright, Brenda, Attorney for Plaintiffs-Appellees
263. Zacherl, Frank, Attorney for Intervenor-Defendants-Appellants
264. Zender, Thomas, Attorney for Plaintiffs-Appellees



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      The Republican National Committee and National Republican Senatorial Com-

mittee have no parent corporation, and no corporation owns 10% or more of their

stock. No publicly traded company or corporation has an interest in the outcome of

this case or appeal. Per Circuit Rule 26.1-2(c), Appellants certify that the CIP contained

in this motion is complete.

      Dated: April 11, 2022

  /s/ Mohammad O. Jazil                        /s/ Tyler R. Green
 Counsel for Secretary Lee                    Counsel for RNC and NRSC

  /s/ Andy Bardos                              /s/ Henry C. Whitaker
 Counsel for Supervisors Hays & Doyle         Counsel for Attorney General Moody




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                                  INTRODUCTION
      “Our founding charter never contemplated that federal courts would dictate the

manner of conducting elections.” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1269 (11th

Cir. 2020). Yet Florida’s elections are now dictated by a single judge in Tallahassee.

Chief Judge Walker has subjected the entire State of Florida to preclearance—some-

thing that, even before Shelby County, the Voting Rights Act didn’t do. See Jurisdictions

Previously Covered by Section 5, DOJ, bit.ly/3Obni3o (VRA covered only 5 Florida coun-

ties). Why? Because Chief Judge Walker decided that a handful of the 32 sections in

Senate Bill 90 simply had to be intended to discriminate against black Floridians.

      That is not remotely true. The decision below will likely be reversed—a fate it

seems to embrace, as it openly criticizes the Supreme Court for believing we live in a

“post-racial society,” for “gutting” preclearance, for placing the VRA “under siege,”

and for applying Purcell hypocritically. Op.3, 44, 263. The court’s discrimination ruling

does not honor this Court’s precedent in Greater Birmingham or even mention the pre-

sumption of legislative good faith. Its preclearance remedy is even worse. The court

ordered that remedy knowing it would block provisions of a bill that the legislature just

passed, one of which repeals part of SB90. And preclearance forces Florida to get its

laws preapproved by the same judge who just called its elections director a liar, Op.118,

212-14, and who obliquely compared Florida’s leaders to Vladimir Putin, Op.1 n.1.

       The decision below should be stayed pending appeal. Because statewide elections

are fast approaching, Appellants respectfully ask this Court to rule as soon as possible.


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                                    BACKGROUND
       Florida makes it easy to vote. Floridians can vote in person on election day—the

only method available for most of our nation’s history. Brnovich v. DNC, 141 S. Ct. 2321,

2339 (2021). Floridians can also vote by mail, with no special excuse needed, for more

than 30 days before an election. Fla. Stat. §101.62(1), (4)(b). And they can vote early for

8-14 days. §101.657(1)(d). The State mandates the use of drop boxes. §101.69(2)(a).

       Yet the 2020 elections presented new challenges nationwide. Administered dur-

ing a global pandemic, 2020 saw an unprecedented surge in mail voting. Before the

election, a record number of lawsuits were filed, charging States who enforced their

written laws with “disenfranchise[ment].” E.g., New Ga. Project v. Raffensperger, 976 F.3d

1278, 1282 (11th Cir. 2020). The few lawsuits that succeeded, and the many Purcell vio-

lations that had to be stayed, took a toll on voter confidence nationwide. See Republican

Party of Penn. v. Degraffenreid, 141 S. Ct. 732, 735, 737 (2021) (Thomas, J., dissental); DNC

v. Wis. State Leg., 141 S. Ct. 28, 31 (2020) (Kavanaugh, J., concurral).

       In response to 2020, many States reformed their election laws. Their main goals

were to restore voter confidence and to articulate clear rules that would govern mail

voting without sacrificing election integrity. See Brnovich, 141 S. Ct. at 2348 (“Fraud is a

real risk that accompanies mail-in voting.”).

       Governor DeSantis signed SB90 in May 2021. The bill has 32 substantive sec-

tions, most of which have never been challenged. Plaintiffs filed four lawsuits here:

League of Women Voters (No. 4:21-cv-186), NAACP (No. 4:21-cv-187), Florida Rising


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(No. 4:21-cv-201), and Harriett Tubman (No. 4:21-cv-242). The district court perma-

nently enjoined four provisions:

      1. Dropbox provisions, §101.69: Prohibits the use of dropboxes outside of
         regular voting hours and requires dropboxes to be continuously monitored
         by an election official during those hours.

      2. Registration-delivery provision, §97.0575(3)(a): Requires third-party voter
         registration organizations (3PVROs) to deliver voter-registration applications
         to the county where the applicant resides within 14 days or before registration
         closes.

      3. Registration-disclaimer provision, §97.0575(3)(a): Requires 3PVROs to
         inform applicants that their applications might not be delivered on time and
         that they can register themselves in person, online, or by mail.

      4. Solicitation provision, §102.031(4)(a)-(b): Defines prohibited solicitation to
         include “engaging in any activity with the intent to influence or effect of in-
         fluencing a voter” in or near a polling place.

No plaintiff alleged that the registration-disclaimer provision was intentionally discrim-

inatory. Op.12. The plaintiffs in NAACP and Florida Rising challenged the other three

provisions on that ground. The plaintiffs in League of Women Voters and Harriett Tubman,

however, never alleged intentional racial discrimination, brought claims under the Vot-

ing Rights Act, or sought preclearance.

      After a bench trial, the district court ruled that the dropbox, solicitation, and

registration-delivery provisions intentionally discriminate against black voters, and thus

violate the Fourteenth Amendment, Fifteenth Amendment, and VRA. Op.134-36. Ap-

plying the multi-factor test from Arlington Heights, the court surveyed Florida’s “history

of racial discrimination” starting with the Civil War. Op.42-45. It then asserted that



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Florida has repeatedly “target[ed] Black voters because of their affiliation with the Dem-

ocratic party,” mostly citing lawsuits where courts found that Florida didn’t engage in

intentional discrimination. E.g., Op.52, 60, 64. The court also found that the procedures

used to pass SB90 didn’t cut “one way or the other,” Op.83, while dismissing concerns

over “voter confidence” and “fraud” as unpersuasive, Op.70-75. In terms of legislators’

statements, the court largely dismissed their relevance. Op.84-88, 129.

       Crucially to the court, it thought the challenged provisions had disparate impacts

on black voters because it believed those voters are currently more likely to use drop-

boxes, register through 3PVROs, and wait in long lines. Op.116. The court relied on

Plaintiffs’ experts, though it acknowledged the significant limitations in their methods

and findings. Op.90-104, 109-15. The court further speculated that the Florida legisla-

ture—all of it—knew about these disparate impacts based on the election director’s

“face and body language” at a Zoom trial, a floor statement where one Republican denied

that SB90 would have disparate impacts, and the criticisms of Democratic legislators.

Op.88-89, 116-21. It also faulted the legislature for rejecting “less discriminatory alter-

natives” offered by Democrats, including “doing nothing.” Op.122-25.

      Based on its intentional-discrimination ruling, the district court not only perma-

nently enjoined the laws, but also barred Florida from “enacting” any law “governing

3PVROs, drop boxes, or ‘line warming’ activities” without preclearing it with Chief

Judge Walker. Op.281. The court admitted that “[t]he parties treat[ed] [preclearance] as

an afterthought,” giving it less than six total pages of briefing. Op.270. But the court

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failed to note that, despite asking the parties for supplemental briefing on countless

topics, it never once asked for more briefing on preclearance. E.g., League Docs. 471,

542, 543, 554, 630, 636, 657, 659. Nor did it conduct a remedial hearing. The court

instead applied the multi-factor test from Jeffers v. Clinton, 740 F. Supp. 585 (E.D. Ark.

1990). It didn’t apply Shelby County, except to criticize that opinion as wrong. Op.44,

273-74. The court stressed that §3(c) of the VRA allows courts to order preclearance,

and it held that preclearance was plainly constitutional under Congress’s authority to

“‘make or alter’” States’ regulations of federal congressional elections. Op.280 (quoting

U.S. Const. art. I, §4, cl. 1).

       As for the registration-disclaimer provision, the district court ruled that it com-

pelled speech in violation of the First Amendment. Op.218. The court acknowledged

that the Florida legislature had since passed SB524—a bill that, once signed by the gov-

ernor, will “moo[t] Plaintiffs’ claims challenging the registration disclaimer.” Op.190,

258. In fact, it cited SB524 against the State, contending that its less restrictive alternative

proved that the registration-disclaimer provision “is not narrowly tailored.” Op.215-16.

But instead of staying its hand, the court enjoined the registration-disclaimer provision.

Its preclearance order now means that SB524’s repeal of the registration-disclaimer can-

not come into force without the court’s blessing. In other words, the court invalidated

a provision that “[a]ll agree” would “likely become moot soon,” and blocked enforce-

ment of the legislation that would moot it. Op.190.



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      Finally, as an alternative ground for invalidating SB90’s solicitation provision, the

district court deemed that provision vague and overbroad. According to Plaintiffs, this

provision regulates speech to the extent it prevents them from giving voters in line

food, water, and other tangible items. Op.182-83. The district court not only agreed,

but held that this defect made the provision facially unconstitutional. Op.157-87.

       The district court then denied a stay pending appeal. Op.268-69. It criticized the

“all-powerful” Purcell principle as “wholly judge-made” and accused certain Justices of

applying it hypocritically. Op.261-68. It refused to apply that principle here because

SB90 is a “new” law, Plaintiffs challenged it immediately, Plaintiffs prevailed on the

merits, and “the closest election is roughly five months away.” Op. 261-68. Two super-

visors also testified, according to the court, that enjoining SB90 would adversely affect

them only “‘a little.’” Op.266-67. The district court did not appreciate that elections are

currently happening in Miami-Dade County, that statewide primaries begin in only three

months, and that registrations must be processed, poll workers trained, and dropboxes

sited well before then.

                                     ARGUMENT
       Stays pending appeal turn on four factors:

          1. the likelihood the moving party will prevail on the merits;
          2. the prospect of irreparable injury to the moving party if relief is withheld;
          3. the possibility of harm to other parties if relief is granted; and
          4. the public interest.




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11th Cir. R. 27-1. In “election cases,” courts also must consider the Purcell principle.

Merrill v. Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh, J., concurral) (citing Purcell v.

Gonzalez, 549 U.S. 1 (2006)). In the 2020 cycle, these factors “consistently pointed …

in one direction—allowing the States to run their own elections.” New Ga. Project, 976

F.3d at 1283. They point that direction in 2022.

I.     Movants will likely prevail on appeal.
       The district court ruled that three provisions of SB90 are intentionally discrimi-

natory, that Florida should be put in preclearance, that the registration-disclaimer pro-

vision should be invalidated despite its impending repeal, and that the solicitation pro-

vision is overbroad and vague. This Court will likely disagree on each point.

       A.     Intentional racial discrimination
       This Court will likely reverse the district court’s ruling that three provisions of

SB90 were passed with racially discriminatory intent. A detailed critique of the district

court’s 288-page opinion will have to wait for the appellate briefs. For now, two obvious

errors warrant a stay. First, the district court didn’t mention, let alone apply, “the pre-

sumption of legislative good faith.” Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018). Second,

the district court didn’t apply recent precedents clarifying the scope of Arlington

Heights—most notably, this Court’s decision in Greater Birmingham.

       The district court “failed to apply—or even mention—the presumption of legis-

lative good faith to which the [legislature] was entitled.” N.C. State Conf. of the NAACP

v. Raymond, 981 F.3d 295, 303 (4th Cir. 2020). The words “good faith” don’t even appear


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in the opinion. And the district court repeatedly presumed bad faith. It assumed that

SB90’s proponents intended to impose disparate impacts on black Floridians, instead

of crediting their denials that any such impacts would occur. Op.88; see also Personnel

Admin. v. Feeney, 442 U.S. 256, 279 (1979) (rejecting that “awareness of consequences”

shows discriminatory intent anyway). And although the law does not require legislators

to justify election laws with specific evidence, Common Cause/Ga. v. Billups, 554 F.3d

1340, 1353 (11th Cir. 2009), the court used the supposed lack of record evidence to

discredit the legislators’ concerns with voter confidence and fraud as pretextual shams.

Op.131. It also found that Florida would continue discriminating in the future based

solely on the fact that “the Governor’s Mansion and the Legislature are controlled by

[the Republican] party.” Op.277.

      At a more granular level, the district court applied Arlington Heights without hon-

oring the ways that subsequent precedents have refined that test. After criticizing those

precedents or citing them at an extremely high level, the district court never applied the

Supreme Court’s decision in Brnovich or this Court’s decision in Greater Birmingham. It

thus committed several fatal errors:

      • Greater Birmingham holds that the relevant “historical background” is “the pre-
        cise circumstances surrounding the passing of the [challenged] law.” 992 F.3d
        at 1325-26; accord Bronovich, 141 S. Ct. 2335. Yet the district court’s historical
        analysis consisted of events disconnected from SB90, dating back to the Civil
        War. Op.42-45.

      • Greater Birmingham emphasizes that “combatting voter fraud” and “increasing
        confidence in elections” are “valid neutral justifications” that dispel an


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           inference of discrimination, “even in the absence of any record evidence.”
           992 F.3d at 1327, 1334 & n.47; accord Brnovich, 141 S. Ct. at 2348. Yet the
           district court chalked these interests up to unproven, illegitimate pretexts.
           Op.131-32.

      • Brnovich warns courts not to conflate “partisan motives” with “racial motives.”
        141 S. Ct. at 2349. And it warns courts not to use “differences in employment,
        wealth, and education” to invalidate state election laws based solely on “dis-
        parate impact.” Id. at 2343; accord Greater Birmingham, 992 F.3d at 1327. Yet
        these flawed lines of reasoning comprise virtually all the district court’s anal-
        ysis.

      • Greater Birmingham reminds courts that disparate impacts must be so “stark”
        that they reveal a pattern “unexplainable on grounds other than race.” 992
        F.3d at 1322. The district court found nothing like that. Its data suggested, at
        most, miniscule differences in how black Floridians voted before SB90. E.g.,
        Op.90-116. The data didn’t purport to be reverse causal. And it was admit-
        tedly “limited,” “unclear,” “not necessarily representative,” and “not statisti-
        cally significant.” Op.97-98, 100-12.

      • Greater Birmingham does not fault legislatures for rejecting “the alternative op-
        tion[s] that Plaintiffs would have preferred.” 992 F.3d at 1327. But the district
        court faulted the legislature for rejecting opponents’ amendments and their
        attempts to outright kill SB90. Op.122-25. That opponents’ “preferred rule
        did not prevail ... does not suggest that the resulting rule violates the Consti-
        tution.” Ariz. Democratic Party v. Hobbs, 18 F.4th 1179, 1193 n.8 (9th Cir. 2021).

      • Greater Birmingham rejects the relevance of statements from single legislators,
        especially comments unrelated to the law in question. 992 F.3d at 1324-25.
        Yet the district court seemingly gave such comments “marginal” weight.
        Op.129.

      For any or all of these reasons, the district court’s ruling on intentional discrimi-

nation will not survive this appeal.

      B.      Preclearance
      Because the district court erred in finding intentional discrimination, its preclear-

ance remedy necessarily falls. Section 3(c) does not apply unless “violations of the


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fourteenth or fifteenth amendment have occurred,” 52 U.S.C. §10302(c)—meaning vi-

olations of the “protections against intentional racial discrimination in voting.” Perez v. Ab-

bott, 390 F. Supp. 3d 803, 814-18 (W.D. Tex. 2019) (emphasis added); accord Veasey v.

Abbott, 888 F.3d 792, 801 (5th Cir. 2018). But even apart from being unsupported by a

legitimate finding of liability, the district court’s imposition of preclearance has inde-

pendent flaws.

       When deciding whether to impose that drastic remedy, the district court applied

the wrong standard. It followed the Eastern District of Arkansas’s decades-old decision

in Jeffers. But this Court must follow Shelby County, which made clear that preclearance

is “a drastic departure” from federalism and equal sovereignty. 570 U.S. 529, 535 (2013).

Whether through Congress or the courts, the “Federal Government does not … have

a general right to review and veto state enactments before they go into effect.” Id. at

542; see also Rizzo v. Goode, 423 U.S. 362, 379 (1976) (federal courts must give “appro-

priate consideration … to principles of federalism in determining the availability and

scope of equitable relief”). Under Shelby County, preclearance is unconstitutional absent

“exceptional conditions.” 570 U.S. at 545, 556-57; see Perez, 390 F. Supp. 3d at 819 (“In

the wake of Shelby County, courts have been hesitant to grant §3(c) relief.”).

       The district court never attempted to find “exceptional conditions” of the kind

referenced in Shelby County. They don’t exist. See Shelby Cnty., 570 U.S. at 551, 554. In-

deed, they’ve long been gone in Florida, which was never subject to statewide preclear-

ance—even in 1965. And today, black Floridians register and vote at rates of 58% and

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52%—comparable to Oregon and far exceeding States like Colorado, Massachusetts,

Minnesota, and Washington. See Table 4b, Reported Voting & Registration, by Sex, Race and

Hispanic Origin, for States: November 2020, Census Bureau, bit.ly/37qgCgA. Nor could the

district court sidestep preclearance’s constitutional problems by pointing to Congress’s

authority over congressional elections. Op.279-80. Congress didn’t use that power to

enact the VRA, that power does not reach state elections or presidential elections, and

no congressional power can used to violate basic principles of federalism. See South Car-

olina v. Katzenbach, 383 U.S. 301, 308 (1966); McPherson v. Blacker, 146 U.S. 1, 35 (1892);

Printz v. United States, 521 U.S. 898, 923-24 (1997).

       But under any standard, preclearance was wildly inappropriate here. SB90 is not

the kind of law that could trigger preclearance: Plaintiffs didn’t challenge most of the

bill, only two groups even alleged intentional discrimination, and the district court re-

jected many of those allegations. Nor is Florida a repeat offender: The best the district

court could muster was a string of cases where courts held that Florida didn’t engage in

racial discrimination. Op.52-65. At worst, the district court should have held that pre-

clearance is “not necessary here in light of [its] injunction.” N.C. State Conf. of NAACP

v. McCrory, 831 F.3d 204, 241 (4th Cir. 2016). Florida has no history of evading court

orders. The district court stressed Florida’s past compliance. Op.6-7 & n.4. And its one

supposed counterexample—SB524—is hardly “a mockery of the rule of law.” Op.279.

It outright repeals one of the challenged provisions, a registration disclaimer that Plain-

tiffs never alleged was racially discriminatory to begin with, see Op.12. And forcing these

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parties to litigate preclearance issues saves no more time or money than ordinary litiga-

tion. Cf. Op.278-89. If anything, it increases the costs since provisions of law must be

precleared that otherwise would not have been challenged.

       Far from a “rarely used” remedy for the most “‘systematic and deliberate’” cases

of discrimination, the district court’s reasoning would make preclearance the norm in

voting-rights cases. Conway Sch. Dist. v. Wilhoit, 854 F. Supp. 1430, 1442 (E.D. Ark.

1994). That the court reached for this blunderbuss remedy—effectively putting Florida

in a decade-long federal receivership—is reason enough to stay its order.

       C.     Registration disclaimer
       This Court will likely vacate the district court’s injunction against the registration

disclaimer. Op.218. Appellants disagree that this provision violates the First Amend-

ment. See Op.202-18 (recounting Appellants’ arguments). But the Court need not re-

solve that debate because the Florida legislature passed SB524, which repeals it. Gov-

ernor DeSantis plans to sign SB524 imminently. No one disputes that it will moot the

parties’ dispute over the registration disclaimer. Op.190. The only thing stopping it is

the district court’s preclearance order. Once that relief is stayed, all of SB524 will go

into effect, mooting Plaintiffs’ claims and prompting this Court to vacate that part of

the district court’s order. Flanigan’s Enters., Inc. of Ga. v. City of Sandy Springs, 868 F.3d

1248, 1271 n.24 (11th Cir. 2017) (en banc).

       The district court’s contrary course was an abuse of discretion. Far from consti-

tutional avoidance, it reached out to strike down a statute that was about to be repealed.


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The imminent repeal was at least a reason to hold this claim in abeyance or enter a

partial stay, rather than ruling before Governor DeSantis could sign the bill and then

barring the relevant provision from taking immediate effect. Because a stay will end this

dispute without a constitutional ruling or an intrusion on Florida’s elections, this Court

should enter one.

       D.     Solicitation provision
       Lastly, the solicitation provision is not vague or overbroad, let alone facially so.

Though a facially vague law needn’t be vague in every application, it must be vague in

“the vast majority” of applications. Hill v. Colorado, 530 U.S. 703, 733 (2000). A facially

vague statute, in other words, must be “utterly devoid of a standard of conduct so that

it simply has no core.” High Ol’ Times, Inc. v. Busbee, 673 F.2d 1225, 1228 (11th Cir. 1982).

       The solicitation provision has a clear core. It bans “solicit[ing]” voters who are

inside or near the polling place. Fla. Stat. §102.031(4)(a). The word “solicit” is common

to the law and not vague. Sun-Sentinel Co. v. City of Hollywood, 274 F. Supp. 2d 1323, 1333

(S.D. Fla. 2003). And SB90 does not make it facially vague by specifying that it includes

“engaging in any activity with the intent to influence or effect of influencing a voter.”

Fla. Stat. §102.031(4)(b). That phrase is clarified by the long list of examples that pre-

cede it, including “seeking … any vote,” “distributing … campaign material,” and “sell-

ing … any item.” Id.; see United States v. Williams, 553 U.S. 285, 294 (2008). And its “in-

tent” requirement further reduces any facial vagueness. Hill, 530 U.S. at 732. In context

and everyday meaning, the solicitation provision is clear: it allows “voters [to] focus on


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the important decisions immediately at hand.” Minn. Voters All. v. Mansky, 138 S. Ct.

1876, 1888 (2018). As even the district court observed, it “shield[s] voters from …

common annoyances” and deters the “taint of fraud or intimidation.” Op.176.

       For similar reasons, the solicitation provision is not facially overbroad. A facially

overbroad law must lack a “‘plainly legitimate sweep.’” Cheshire Bridge Holdings, LLC v.

City of Atlanta, 15 F.4th 1362, 1377 (11th Cir. 2021). The district court made no such

determination here. Even if some applications violated the First Amendment, the vast

majority don’t. No one disputes that the statute can be applied to pure conduct, like

bribes. Or commercial speech, like selling goods. Or outright electioneering. In fact, the

statute is incapable of overbreadth because it applies only in or near polling places dur-

ing voting hours—i.e., nonpublic forums. Hodge v. Talkin, 799 F.3d 1145, 1171 (D.C.

Cir. 2015). As the Supreme Court explained in Mansky, its decision in Burson v. Freeman

didn’t resolve whether the areas “surrounding a polling place qualify as a nonpublic fo-

rum,” but history and tradition reveal that areas “in and around polling places” are pre-

cisely that. 138 S. Ct. at 1886, 1883 (second emphasis added).

       Even as applied to Plaintiffs, the solicitation provision is constitutional. Plaintiffs

claim they want to distribute food and water to voters waiting in line within 150 feet of

the polling place. Florida could reasonably determine that this task should be left to

“nonpartisan” election officials. Fla. Stat. §102.031(4)(b). And distributing food and

water is not speech. See Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale, 11 F.4th

1266, 1292 (11th Cir. 2021) (“[M]ost social-service food sharing events will not be

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expressive.”). Though it can be in unique contexts, that context is missing here. Burns

v. Town of Palm Beach, 999 F.3d 1317, 1343-47 (11th Cir. 2021). Giving a voter food or

water could mean “Stay in line” or “Thanks for voting,” but it could also mean “You

look thirsty/hungry,” “It’s hot/cold outside,” “We’d like to get rid of these extras,”

“Come visit our church,” “Would you like to buy some water?”, “Try this free sample,”

or “Vote for my candidate.” As the district court acknowledged, see Op.163-67, a voter

cannot tell which message is being expressed without additional speech—a telltale sign

that the conduct is “not inherently expressive.” Rumsfeld v. FAIR, 547 U.S. 47, 66 (2006).

       The district court never explained why providing food and water to people wait-

ing in line communicates this message but literally helping people vote does not. See

accord Feldman v. Ariz. Sec’y of State’s Off., 840 F.3d 1057, 1084 (9th Cir. 2016) (“facilitating

voting” is not speech); Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018) (collecting

and returning absentee ballots is not speech). Plaintiffs submitted no such evidence.

That they subjectively intend to express a message and that other people thank them

for the free food and water, see Op.164-65, is not enough.

II.    Under the Purcell principle, the equities alone require a stay.
       “[A]ny time a State is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.” New Motor Vehicle

Bd. of Cal. v. Orrin W. Fox, Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers).

But in election cases, that observation dictates the remaining stay factors.




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       Purcell teaches that staying the district court’s order prevents the “seriou[s] and

irreparabl[e] harm” of barring Florida from “conducting this year’s elections pursuant

to a statute enacted by the Legislature.” New Ga. Project, 976 F.3d at 1283. And it allevi-

ates other irreparable harms, including administrative burdens and voter confusion. Wis.

State Legislature, 141 S. Ct. at 31 (Kavanaugh, J., concurral); Purcell, 549 U.S. at 4-5. These

widespread harms to most voters dwarf any harm to individual plaintiffs, whose victory

is at worst delayed pending appeal. Milligan, 142 S. Ct. at 882 (Kavanaugh, J., concurral).

And avoiding these harms serves “the public interest in orderly elections.” Benisek v.

Lamone, 138 S. Ct. 1942, 1944-45 (2018). “Simply put, a stay preserves the status quo

and promotes confidence in our electoral system—assuring voters that all will play by

the same, legislatively enacted rules.” New Ga. Project, 976 F.3d at 1284.

       Importantly, Purcell is a sufficient basis to grant a stay. The Supreme Court has

invoked it while expressing “no opinion” on the merits, Purcell, 549 U.S. at 5; where the

plaintiffs had “a fair prospect of success,” Milligan, 142 S. Ct. at 881 n.2 (Kavanaugh, J.,

concurral); and even where the challenged law was “invalid,” Reynolds v. Sims, 377 U.S.

533, 585 (1964). These applications reflect the long-established principle that, where

the equities heavily favor a stay, courts need not decide whether the appellant will likely

succeed on the merits. See LabMD, Inc. v. FTC, 678 F. App’x 816, 819 (11th Cir. 2016).

It’s enough that the appeal will raise “a serious legal question.” Ruiz v. Estelle, 650 F.2d

555, 565 (5th Cir. Unit A 1981).



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       The district court didn’t say that this appeal is unserious. It declined to follow

Purcell because “the closest election is roughly five months away,” “Plaintiffs have not

delayed,” and two supervisors testified that an injunction wouldn’t burden them much.

Op.265-68. None of that is true. Nor is the district court’s reasoning entitled to defer-

ence. This Court is not reviewing the district court’s denial of a stay, but rather must

make “an equitable judgment of [its] own.” Trump v. IRAP, 137 S. Ct. 2080, 2087 (2017).

It should make a different call.

       The district court’s order falls squarely within Purcell’s forbidden window. Issued

on March 31, the order came in the middle of two elections in Miami-Dade County. See

Municipal Elections, Miami-Dade Cnty. (Mar. 15, 2022), bit.ly/3r4w09y (elections ending

on April 5 and April 12). Though Florida’s statewide primaries are in August, absentee

voting starts in early July. Election Dates, Fla. DOE, bit.ly/3pMYrbx (last visited Apr. 7,

2022). Three months from the start of voting is too close under Purcell. E.g., Milligan,

142 S. Ct. at 888 (Kagan, J., dissental) (four months); Thompson v. DeWine, 2020 WL

3456705 (2020) (six months). Indeed, the district court enjoined provisions governing

voter registration, which is currently underway for the August primaries. See Election

Dates. As are trainings for the poll workers who must implement the solicitation rules,

plus the selection of early voting sites (and thus dropboxes).

       It is the district court’s injunction, not SB90, that changes the status quo under

Purcell. SB90 is not new: It was passed over a year ago, and it has already been applied

to a congressional election in January 2022, several state legislative primaries in January,

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several state legislative elections in March, and numerous municipal elections in March.

See, e.g., Special Elections Archive, Fla. DOE, bit.ly/3I0g8dK (last visited Apr. 11, 2022);

Special Elections, Fla. DOE, bit.ly/3CyYBIt (last visited Apr. 11, 2022); Election Dates and

Deadlines, Palm Beach Cnty. Elections, bit.ly/3hXoVCI (last visited Apr. 11, 2022).

Even if SB90 were new, “[i]t is one thing for state legislatures to alter their own election

rules …. It is quite another thing for a federal district court to swoop in and alter care-

fully considered and democratically enacted state election rules.” Wis. State Legislature,

141 S. Ct. at 31 (Kavanaugh, J., concurring). After preparing to implement SB90, offi-

cials now must “understand the court’s injunction, then devise plans to implement that

late-breaking injunction, and then determine as necessary how best to inform [others].”

Id. Mix in the need for a “conflicting” stay order on appeal and the risk of “voter con-

fusion” and the “consequent incentive to remain away from the polls” is high. Purcell,

549 U.S. at 4-5.

       Nor does it matter that Plaintiffs quickly sued Florida. Though they quickly filed

their complaints, Plaintiffs didn’t move for preliminary injunctions or even summary

judgment on all claims; they chose to go to trial, running the risk that a judgment would

issue close to the 2022 elections. And Purcell is mostly “focused on the date of court

orders,” not the date of plaintiffs’ filings. Feldman v. Reagan, 843 F.3d 366, 410 (9th Cir.

2016) (O’Scannlain, J., dissental). The Supreme Court has invoked Purcell where the

plaintiffs sued a year before the election, North Carolina v. League of Women Voters of N.C.,

574 U.S. 927 (2014); six weeks after the challenged law passed, Ariz. Sec’y of State’s Office

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v. Feldman, 137 S. Ct. 446 (2016); and even “‘hours” after the challenged law passed,

Milligan, 142 S. Ct. at 888 (Kagan, J., dissental). Applying Purcell in these cases furthered

the core principle of “allow[ing] the States to run their own elections.” New Ga. Project,

976 F.3d at 1283.

       Finally, Purcell cannot be defeated by the equivocal testimony of two supervisors.

Those supervisors represent counties whose policies largely mirrored SB90’s dropbox

and solicitation requirements; they cannot speak for the counties whose preparations

will be disrupted by the district court’s injunction. See Tr.3156-68, 3496-501. Nor should

two supervisors override Florida’s chief election officer, its attorney general, two other

supervisors, and a major political party—all of whom are seeking a stay under Purcell.

       At most, the two supervisors could speak to the effect of a stay on election “ad-

ministration” within their two counties. Op.267. But Purcell is equally, if not more, con-

cerned with voter confusion and electoral confidence. Those “essential” interests are

certainly implicated by a last-minute injunction wrongly accusing the State of intention-

ally suppressing the votes of racial minorities, see Purcell, 549 U.S. at 4-5, and subjecting

the State to preclearance for the next decade, see Shelby Cnty., 570 U.S. at 544-45.

                                    CONCLUSION
       This Court should grant a stay pending appeal as soon as reasonably possible.




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                        CERTIFICATE OF COMPLIANCE
       This motion complies with Rule 27(d)(2)(A) because it contains 5,046 words,

excluding the parts that can be excluded. This motion also complies with Rule 32(a)(5)-

(6) because it has been prepared in a proportionally spaced face using Microsoft Word

2016 in 14-point Garamond font.

       Dated: April 11, 2022                             /s/ Mohammad O. Jazil




                           CERTIFICATE OF SERVICE
       I filed this motion with the Court via ECF. I also served via e-mail a copy of

this motion on all counsel of record identified in the service list that follows.

       Dated: April 11, 2022                             /s/ Mohammad O. Jazil




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